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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 VIDEOLABS, INC., and
 VL COLLECTIVE IP LLC

                        Plaintiffs,                   Civil Action No.

           v.                                         JURY TRIAL DEMANDED

 NETFLIX, INC.

                        Defendant.




       Plaintiffs VideoLabs, Inc. (“VL”) and VL Collective IP LLC (“VL IP”) (collectively

“VideoLabs” or “Plaintiffs”) file this Complaint against Defendant Netflix Inc. (“Netflix” or

“Defendant”), and in support thereof alleges as follows:



       1.       Digital video has become fundamental to how society interacts, communicates,

educates, and entertains. In fact, video consumption now accounts for more than 82% of all

Internet traffic.1 The ability to reliably provide high-quality video drives the growth of digital

platforms that are increasingly integral to the global economy.

       2.       The advent of high-quality video as a staple of digital consumption did not happen

instantaneously.   As with any complex technology, digital video presented implementation

challenges. Many companies spent many years and resources to develop new and innovative

technologies that guide how video is created, streamed, secured, managed, and consumed.



       1
         See Ex. 1, The Sustainable Future of Video Entertainment, INTERDIGITAL (Aug. 2020),
https://www.interdigital.com/white_papers/the-sustainable-future-of-video-
entertainment?submit_success=true (last visited Jan. 20, 2022).


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       3.      Various inventions and technological advances have transformed digital video.

Some of these technologies, such as techniques to efficiently compress video file size, address

central challenges to storing and transmitting video. Others enable video content to be efficiently

and securely streamed to the many user devices that exist today. Yet others involve managing and

organizing videos to provide viewers easier access to content and address how they interact with

content. Successful video streaming thus requires myriad technologies that necessarily coordinate

with one another.

       4.      Because various companies played roles in developing the foundational technology

for today’s digital video, no single company can provide the high-quality video experiences that

consumers have come to expect without using technology owned by other companies.

       5.      The founders of VideoLabs recognized this problem and understood that collective

action was needed to address it. If the companies that developed critical video technologies

worked together, everyone could benefit: innovators could receive fair compensation for their

contributions, companies deploying video technology could respect the innovators’ patents and

license them on affordable and predictable terms, and consumers could experience better and more

affordable video technology.

       6.      In 2019, with support from widely-recognized industry leaders, VideoLabs

launched a platform to achieve these goals. VideoLabs spent millions of dollars and thousands of

hours analyzing the video space and identifying the patents that reflect the innovations with the

highest impact. VideoLabs then compiled a portfolio of these core patents, obtaining them from

leading companies, including Hewlett Packard Enterprise, Alcatel-Lucent S.A., Siemens AG,

Swisscom AG, 3Com, Panasonic, LG, and Nokia.

       7.      VideoLabs then opened-up membership on its platform to all willing companies.




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In exchange for low-cost membership or licensing fees, VideoLabs provides access to its patent

portfolio and a commitment to seek out the most important patents in the video industry and clear

them. Many prominent companies recognized the benefits of the VideoLabs platform and worked

with VideoLabs to efficiently and responsibly license its video technology patents.

       8.      Unfortunately, Netflix has not. Netflix is one of the world’s largest users of video

technologies and operates the world’s most popular streaming TV service with over 213 million

subscribers.2 It is enmeshed in practically every aspect of video, from creation to processing,

delivery, and display.3

       9.      VideoLabs contacted Netflix multiple times to offer Netflix the benefit of

VideoLabs’ platform and to alert it to its use of VideoLabs’ patented technology. As an added

incentive for engaging in good faith discussion, VideoLabs offered to conduct discussions with

Netflix under an NDA that would eliminate any legal risk from participating in the discussions,

including a 3-month mutual legal standstill which would provide sufficient time for full and open

dialogue. After many months of ignoring VideoLabs’ entreaties, Netflix finally responded. But

Netflix foreclosed the possibility of good faith discussions by insisting that VideoLabs agree not



       2
           See, e.g., Ex. 2 at 3, https://www.cnbc.com/2021/11/10/disney-netflix-and-other-
streaming-services-subs-arpu-q3-
2021.html#:~:text=Netflix%20continues%20to%20outpace%20the,around%20paying%20custo
mers%20and%20ARPU; Ex. 3 at 6-7 https://screenrant.com/ten-most-popular-streaming-
services-ranked-subscriber-numbers/; Ex. 4 at 3-4, https://www.businessofapps.com/data/netflix-
statistics/.
         3
           See, e.g., Ex. 5 at 1, https://www.statista.com/statistics/883491/netflix-original-content-
titles/; Ex. 6 at 1-3, https://netflixtechblog.com/high-quality-video-encoding-at-scale-
d159db052746; Ex. 7 at 1-9, https://www.comparitech.com/blog/vpn-privacy/netflix-statistics-
facts-figures/; Ex. 8 at 1-9, https://netflixtechblog.com/ava-the-art-and-science-of-image-
discovery-at-netflix-a442f163af6; Ex. 9 at 1-6, https://www.webdesignerdepot.com/2020/02/3-
lessons-ux-designers-can-take-from-netflix/; Ex. 10 at 1-4, https://uxmag.com/articles/how-
netflix-uses-psychology-to-perfect-their-customer-experience; Ex. 11 at 1-12,
https://uxplanet.org/the-netflix-conundrum-overcoming-the-paradox-of-choice-a-ux-case-study-
95b19acdc28c.


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to enforce its patent rights against Netflix for an indefinite period of time. When VideoLabs

declined this demand, Netflix ceased responding to any of VideoLabs’ communications.

        10.     Faced with this Hobson’s choice, VideoLabs feels that it has no recourse but to file

this action to stop Netflix’s unauthorized use of VideoLabs’ patents. Failure to take action would

undermine the viability of VideoLabs’ platform and permit further free-riding by Netflix of the

significant innovations of VideoLabs’ patents.

        11.     This case is ultimately about ensuring the integrity of the patent system and

compensating patent owners for their protected innovations. Respect for intellectual property, as

the law requires, is essential to incentivize innovation and promote technological progress.

Accordingly, VideoLabs brings this action under the patent laws, 35 U.S.C. § 1 et seq., in order to

stop Netflix’s willful infringement of U.S. Patent Nos. 8,139,878, 7,440,559, and 7,233,790

(collectively, “patents-in-suit”).



        12.     VL was founded in 2018 as part of an industry-sponsored and -funded effort to

reduce the cost and risk of technological gridlock associated with diverse patent ownership. VL’s

leadership has decades of experience in intellectual property licensing, during which they have

completed over 1,000 intellectual property transactions worldwide and drawn more than $6 billion

in revenue.

        13.     VL is a corporation organized under the laws of the State of Delaware, with its

principal place of business in Palo Alto, California.

        14.     VL IP was founded in 2019 as a subsidiary of VideoLabs, Inc.

        15.     VL IP is a corporation organized under the laws of the State of Delaware, with its

principal place of business in Palo Alto, California.

        16.     On information and belief, Netflix is a publicly traded corporation organized and


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existing under the laws of the State of Delaware and is registered to do business in the State of

Delaware. Netflix’s headquarters are located at 100 Winchester Circle, Los Gatos, California

95032.



         17.     This is an action for patent infringement arising under the patent laws of the United

States. This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331

and 1338(a), 15 U.S.C. § 1121, and 28 U.S.C. § 1367(a).

         18.     This Court has personal jurisdiction over Netflix because, on information and

belief, Netflix conducts business in and has committed acts of patent infringement in this District,

and has established minimum contacts with this forum state such that the exercise of jurisdiction

over Netflix would not offend traditional notions of fair play and substantial justice. Netflix is

incorporated in this District. On information and belief, Netflix offers products and/or services,

including those accused herein of infringement, to customers and potential customers located in

this District.

         19.     Venue is proper in this Court under 28 U.S.C. §§ 1391 and 1400(b). Netflix resides

in this District. Netflix has chosen to incorporate in the state of Delaware, thereby receiving the

benefits offered to Delaware corporations. Netflix must accordingly assume responsibilities to

Delaware and its citizens.

         20.     Further, on information and belief, Netflix has offered and sold, and continues to

offer and sell, its infringing products and services in this District. On information and belief,

Netflix designs, uses, distributes, sells, and/or offers to sell the infringing products and services to

consumers and businesses in this District.

         21.     On information and belief, Netflix is a corporation with global reach and annual

revenue in the billions of dollars. Netflix accordingly cannot reasonably claim it would be


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inconvenient to litigate in the forum in which it is incorporated.

       22.     Moreover, litigating in this District is convenient and would serve the interests of

judicial economy because of a related pending lawsuit in this District.4




       23.     U.S. Patent No. 8,139,878 (the “’878 Patent”), titled “Picture Coding Method and

Picture Decoding Method,” issued on March 20, 2012. VL owns all rights and title to the ’878

Patent, as necessary to bring this action. A true and correct copy of the ’878 Patent is attached as

Exhibit 12.

       24.     The ’878 Patent was developed by engineers at Panasonic, one of the largest

consumer electronics companies at the time of the invention and a major innovator in Internet

technologies. In 2002, when patent applications were first filed for the ’878 Patent, Panasonic was

a world leader in digital video technologies.5 Panasonic developed video coding technologies and

designed consumer electronics –– including TVs, DVD players, and memory cards –– for storing,

processing, and displaying video content.6 The inventions of the ’878 Patent are the result of years

of research by teams of Panasonic engineers working at the cutting edge of video processing and

encoding.

       25.     Native video files are massive. Modern digital video cameras used by premier

television and movie studios capture images at incredibly fast rates (ranging from 30 frames per



       4
          See Starz Entertainment, LLC v. VL Collective IP, LLC, 1-21-cv-01448 (D. Del. filed
Oct. 13, 2021).
        5
          See, e.g., Ex. 13 at 6, 10-17, 41, Annual Report 2002, National/Panasonic Matsushita
Electric, available at https://www.annualreportowl.com/Panasonic/2002/Annual%20Report (last
accessed Jan. 20, 2022).
        6
          See id.



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second up to 300 frames per second) and extremely high resolutions (up to “5k,” or 5120 x 2880,

for a total size of 14,745,600 pixels per frame). Storing just an hour of this raw content requires

more than 300 GB of memory.7 Most modern TVs, laptops, tablets, and smartphones cannot

possibly store and play such large files.

       26.     Even if they could, there would be little point from the perspective of on-demand

content delivery: Internet speeds are far too slow to stream such massive video files. The fact is

that transmitting high quality audiovisual content is simply not possible without powerful

compression technologies. Streaming even just standard high-definition content (720p) requires

network bandwidth of approximately 1.5 Gbps,8 which is about 35 times faster than the average

Internet speed in the United States.9 “Encoding” and “decoding,” which respectively refer to the

processes of compressing and decompressing content, are thus essential to applications such as

video streaming, digital television, and videoconferencing.

       27.     Encoding video content allows the content to be made small for storage and

transmission, while decoding permits the viewer to watch high-quality content on his or her device.

In addition to making real-time streaming of content possible, every incremental increase in

compression efficiency yields substantial benefits to companies that store, process, transmit, or

access video. For example, if a video streaming company can cut the size of each of its movie

files in half, then it reasons that it only needs half the numbers of servers to store its movies, half




       7
          See Ex. 14, How Many GB Is a 2 Hour 4k Movie?, https://gamingsection.net/news/how-
many-gb-is-a-2-hour-4k-movie/ (last visited Jan. 20, 2022).
        8
          See Ex. 15, Bryan Samis, Back to Basics: GOPs Explained, AWS MEDIA BLOG (May
28, 2020), https://aws.amazon.com/blogs/media/part-1-back-to-basics-gops-explained/ (last
visited Jan. 20, 2022).
        9
          See Ex. 16, Average U.S. Internet Speed is 42.86 Mbps, ETI (Feb. 2, 2021),
https://etisoftware.com/resources/blog/report-average-u-s-internet-speed-is-42-86-mbps/ (last
visited Jan. 20, 2022).


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the network bandwidth to transmit its movies, and half of all other related expenses, such as energy

costs and staffing resources.

       28.     The ’878 Patent describes breakthrough techniques for encoding and decoding

audiovisual content so that it can be transmitted and stored with fewer resources. The patent vastly

improves upon existing methods, and the core technology it describes has been used throughout

the industry for years as the gold standard for coding video.

                       1.       Background On Coding Technology

       29.     Video “coding” refers to both the encoding and decoding of video content. Video

compression techniques minimize the size of the data that is sent between the encoder and the

decoder by removing redundancies and imperceivable changes and then efficiently representing

the remaining data for transmission.

       30.     Video is comprised of a series of frames. These frames are successively output to

create the moving pictures that we recognize as video.




Ex. 17, Iain E. Richardson, The H.264 Advanced Video Compression Standard (2d. ed. 2010)

(hereinafter “Richardson”), at 33.

       31.     In the early 2000s, certain techniques existed to reduce the amount of data needed

to describe each frame without any loss in picture quality. For example, if there are a series of 50

white pixels in a row followed by 75 green pixels, then it is more efficient to store the fact that


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there are 50 white pixels followed by 75 green pixels than to store the value of all 125 pixels. This

algorithm, which reduces the redundancy stemming from repeating pixels within a frame, yielded

substantial benefits.

       32.     Video engineers also realized that, very often, not much changes between

successive frames. In the images shown above, for example, the changes between frames 1 and 2

are largely concentrated in the area near the book. As a result, it is not necessary to send the

complete data for every frame of a video. Instead, frames can be sent periodically at strategic

points, such as when there is a scene change that creates major differences between successive

frames. Those strategic frames — called “key frames” — could be used to “predict” other frames

nearby in time by analyzing each frame and storing the differences from one frame to the next.

       33.     Further research yielded additional advances in what became known as predictive

coding. Video engineers realized that it was advantageous to divide each frame into blocks, as

shown below.




       34.     These blocks could be analyzed and used to predict the pixels in the same block in

surrounding frames (“inter-picture prediction,” also called “temporal compression”).

Additionally, these blocks could be analyzed to predict the pixels in surrounding blocks in the



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same frame (“intra-picture prediction,” also called “spatial compression”). While predictive

coding does not always recreate frames that are identical to the original frames, the differences are

so minor as to be imperceptible. For example, in the middle of an intense action sequence, a frame

might display a pixel as blue even though it should be green because doing so enables the image

to be represented more efficiently. This minor alteration from the original content will go

unnoticed by the viewer, who is distracted by all the activity.

        35.     Once redundancy in the video content has been minimized and imperceptible

details have been streamlined, a process called “entropy encoding” further compresses the data by

using as few bits to represent the data as possible, while still ensuring fidelity to the original visual

content. This is achieved by allocating the fewest bits to commonly appearing bit sequences, and

the most bits to infrequently occurring bit sequences. By way of analogy, when training your dog,

the commands you use most frequently are likely the shortest, single-word commands, like “sit”

and “no.” But commands that you need less frequently may be longer, such as “wait for it” and

“roll over.” In this way, over the course of a week, you expend fewer (verbal) resources. Entropy

encoding applies this same principle to the bits of data that comprise video content.

        36.     There are standardized ways to represent sequences of bits, and depending on the

type of entropy coding, these sequences are stored in either “coding tables” or “probability tables.”

Entropy coding involves selecting the optimal table for the data being transmitted and ensuring

that the decoder knows the proper table to use when decoding the data.

        37.     It was in this context that the inventors of the ’878 Patent made their contributions.

                        2.      The ’878 Patent

        38.     The ’878 Patent is directed to encoding audio and video content. With respect to

video, the ’878 Patent describes a type of coding called “Context-based Adaptive Variable Length

Coding,” or “CAVLC.” See, e.g., Ex. 12, ’878 Patent at col. 1, ll. 49-52. Content encoded using


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the techniques of the ’878 Patent would then be stored or transmitted before ultimately being

decoded for playback.

        39.     When encoded, the image data in a particular image block is represented by, among

other things, its “coefficients.” Id. at col. 1, ll. 63-67; col. 7, ll. 38-43; col. 21, ll. 60-66; col. 25,

ll. 29-36. Roughly speaking, larger coefficients for a block indicate a larger amount of changes in

that block as compared with a reference block. See id. For many blocks, there are no such changes,

and so all the coefficients have a value of zero. See id. at col. 21, ll. 60-66. The inventors of the

’878 Patent recognized that these “zero-coefficient” blocks presented an opportunity for further

compression. See, e.g., id. at col. 1, ll. 49-52.

        40.     They realized that the decoder did not need to know every single time a zero-

coefficient block existed; rather, the decoder needs to know only when blocks have non-zero

coefficients. They devised a technique wherein data about zero-coefficient blocks are effectively

not encoded at all, and only non-zero coefficient block data is stored and transmitted. See, e.g., id.

at col. 1, ll.49-52, 56-62; col. 1, l. 65 – col. 2, l. 10. The inventors thereby achieved nearly perfect

compression for these zero-coefficient blocks by communicating them practically without sending

any information whatsoever. See id. at col. 2, ll.11-14.

        41.     The inventors also made a substantial contribution to the efficiency of entropy

coding. They recognized that the coefficients in neighboring blocks were a good predictor of the

coefficients in the block being analyzed, and so could be used to select the optimal coding table

for the block, yielding enhanced compression. See, e.g., id. at col. 9, ll. 34-37; col. 13, ll. 4-11.

Prior techniques lacked this level of sophistication. They did not take advantage of the predictive

power provided by analyzing the coefficients of the surrounding blocks. They would also use the

same coding table for both inter- and intra-predictive coding, which was inefficient because there




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could be significant differences between neighboring blocks in the current frame and blocks in

subsequent frames. See, e.g., id. at col. 1, ll. 33-38. Due to these limitations in the use of coding

tables, compression efficiency in previously known entropy coding techniques would vary

significantly between different types of content, and generally decreased as the quality of content

increased. Id. at col. 1, ll.39-44. These problems (and others) were overcome by the inventors of

the ’878 Patent.

       42.     The innovations of the ’878 Patent provided a significant advance in compression

that was recognized throughout the industry. In fact, the compression techniques of the ’878 Patent

are used in the ubiquitous video codec, H.264. H.264 was revolutionary in the video industry, as

it provided a quantum leap of improvement over the video codecs that had previously been

commonly used, such as Motion JPEG video and MPEG-2. In particular, H.264 “has an 80%

lower bitrate than Motion JPEG video” and “the bitrate savings can be as much as 50% or more

compared to MPEG-2.”10



       43.     U.S. Patent No. 7,440,559 (the “’559 Patent”), titled “System and Associated

Terminal, Method and Computer Program Product for Controlling the Flow of Content,” issued

on October 21, 2008. VL IP owns all rights and title to the ’559 Patent, as necessary to bring this

action. A true and correct copy of the ’559 Patent is attached as Exhibit 18.

       44.     The original assignee of the ’559 Patent is Nokia Corporation, one of the largest

consumer electronics and information technology companies in the world at the time of the

invention and a major innovator of digital communications technologies. In 2003, the year in



       10
         See Ex. 19, What is H264 Encoding?, BlackBox, https://www.blackbox.co.uk/gb-
gb/page/38313/Resources/Technical-Resources/Black-Box-Explains/Multimedia/What-is-H264-
video-encoding/, at 2 (last visited Jan. 20, 2022).


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which Nokia first filed for patent protection for the innovations of the ’559 Patent, Nokia was a

world leader in mobile device sales and technology. That year, Nokia launched its first media

device, the Nokia 7700, and invested nearly one billion euros in research and development.11

       45.     Customers are consuming more content via streaming services, commonly referred

to in the industry as OTT (Over-The-Top) services, than ever before.              At the same time,

competition among video services is increasing. The number of OTT providers is constantly

growing, and consumer confusion is mounting. Consumers expect the same level of innovation

and development for OTT video as they do for other online services, and broadcasters and content

providers are under constant pressure to distinguish their offerings through personalization and

availability of innovative apps that entice and retain customers. The management, curation and

optimization of audience viewing experiences across screens is becoming a core customer

need, and at the same time an opportunity for service differentiation.

       46.     In the early 2000s, the deployment of high bit-rate mobile networks such as 3G

enabled the delivery of new digital services, including video calling and streaming. See, e.g.,

Ex.18, ’559 Patent, col. 1, ll. 17-40. While audio could be delivered adequately using the bit rates

available at the time, the limited transfer rates made it difficult to handle data-intensive tasks like

delivering high quality full-motion video. See, e.g., id. For this and other reasons, alternative

broadband delivery techniques were being investigated to support the delivery of data-intensive

content. As digital broadband data broadcast networks evolved, there was increasing interest in

combining use of mobile telecommunications with a broadband delivery technique to achieve

efficient delivery of digital services to users on the move. But this led to new technical challenges



       11
           See Ex. 20, Press Release, Nokia, Nokia Closes 2003 With Excellent Fourth Quarter,
(Jan. 24, 2004), at 6, 9, available at https://www.nokia.com/system/files/files/q4-2003-earnings-
release-pdf.pdf.


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for content providers as they had to learn new techniques to efficiently deliver content to the

myriad mobile devices that could consume broadband content over mobile networks.

       47.     At the time, mobile terminals would typically download content by “pulling” it

from a server. See, e.g., id. at col. 2, ll. 25-39. This is because content providers tended to use

content flow policies that had been used in non-mobile networks. See id. In those cases, the

content provider typically maintained control over the content flow policy to the mobile terminal

to enforce content access rights requirements. See id. The “pull” technique was thus rooted in the

industry’s established habits, which ignored input from the devices consuming the content that

might otherwise affect an operator’s content flow policy. Such outdated content flow policies

were inefficient and undesirable as broadband content became accessible to mobile users

everywhere and with myriad devices. When controlling content sent to a mobile device, they did

not take into account, for example, the user preferences, terminal capabilities, previous content

downloads, and/or use of previous content for that device. See id. at col. 2, ll. 40-53.

       48.     The ’559 Patent addresses these problems, among others, by giving a network entity

control of the flow of content to the terminal based, in part, on status information from the terminal.

See ’559 Patent, col. 2, ln. 57 – col. 3, ln. 9. Content flow is controlled, for example, by instructing

the terminal to perform actions, such as downloading pieces of content from an origin server, or

other content related actions based, in part, on the status information provided to the network entity

from the terminal. See id. at col. 3, ll. 20-51. For example, the content provider can control the

downloading and storage of content, as well as the deletion of content, at the terminal based upon

status information regarding the terminal, and if so desired, further based upon status information

regarding a source of content, such as the digital broadcast receiver, an origin server, or the like.

See id. at col. 11, ll. 6-30. In that way, the flow of content to the terminal is more efficient since




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the flow of new content to the terminal is affected by aspects of the terminal itself. See id. at col.

10, ll. 45-59.



        49.      U.S. Patent No. 7,233,790 (the “’790 Patent”), titled “Device Capability Based

Discovery, Packaging and Provisioning of Content for Wireless Mobile Devices,” issued on June

19, 2007. VL owns all rights and title to the ’790 Patent, as necessary to bring this action. A true

and correct copy of the ’790 Patent is attached as Exhibit 21.

        50.      The original assignee of the ’790 Patent is Openwave Systems, Inc. (“Openwave”),

a leading developer of software applications for mobile devices. In the early 2000s, when the

inventions of the ’790 Patent were in development, Openwave’s operating system and web

browser software was being installed on billions of mobile phones.12 This provided Openwave

with a front seat to the many new products and services available to consumers on mobile devices.

        51.      The TV industry has been heavily affected by the rise of video on demand (“VOD”)

and over-the-top (“OTT”) services, which allow users to conveniently stream over the Internet

their favorite video content and watch it at any time, in any place, and in the format that best fits

their needs. Today, digital video content is available from myriad streaming services and Pay TV

operators and can be consumed on an ever-growing number of different connected consumer

devices.

        52.      In the early 2000s, when digital video delivery over the Internet was in its nascent

period, delivering media to large numbers of mobile users presented challenges due to the stringent




        12
          See Ex. 22, Openwave Announces Mobile Browser Integration for Qualcomm’s Brew
Solution, INTERNET ARCHIVE WAYBACK MACHINE, (Sept. 12, 2006),
https://web.archive.org/web/20061127222501/http://www.openwave.com/us/news_room/press_r
eleases/2006/20060912_opwv_brew_0912.htm, at 1 (last visited Jan. 11, 2022).


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requirements of streaming media, mobility, wireless, and scaling to support large numbers of users.

While advances in next-generation cellular networks and wireless networks were bringing higher

bandwidths to mobile users, these higher bandwidths naturally created the demand for media-rich

content, which in turn created requirements for a media delivery infrastructure that could handle

the challenges of streaming media, user mobility, and scaling to large numbers of users accessing

content with different types of devices. Traditional content delivery techniques that had previously

served the market reasonably well at the time were no longer capable of meeting current needs.

       53.     Indeed, these techniques were rooted in the nature of the old technologies, in which

content was prepared and packaged once, for distribution over a traditional broadcast medium and

in a singular, conventional broadcast format.        From a content supplier’s perspective, an

impediment to the efficient distribution of digital content was the fact that different connected

devices often required different content packaging formats and provisioning protocols. In order

for the content supplier to make a given item of digital content available to multiple connected

devices supporting different provisioning models, a digital content supplier would normally have

to deploy that item of content multiple times, packaging it differently for each of the provisioning

models. Needing to package and provision digital content in a manner that is suitable for all of

the connected devices in the marketplace is very burdensome. Moreover, it was a challenge for

content suppliers to keep up with the constant changes in device capabilities for the many

connected devices in the marketplace. As such, there was often a gap between the interoperability

of a given digital product and how effective it could be used on a certain device.

       54.     The ’790 Patent addresses this problem, among others, providing an efficient way

for content providers to distribute digital content to different connected devices without the need

to separately package and deploy the content differently for each device. See ’790 Patent, col. 1,




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ln. 60 – col. 2, ln. 17; col. 12, ll. 40-45. Since multiple different implementations of the content

are kept in the content library, each associated with certain device capabilities, content can be

packaged once, and distributed to the different user devices, leaving to the device the choice of

which implementation version of the content to obtain from the service. See ’790 Patent, col. 2,

ll. 50-67; col. 9, ll. 37-50; col. 12, ll. 45-58; col. 11, ll. 42-62; col. 12, ll. 54-58. In the patented

invention, the product information is separated from the content itself, the content is separated

from how it is packaged for delivery, the packaged content is separated from the delivery

mechanism, and the delivery mechanism is separated from the discovery mechanism. See ’790

Patent, col. 12, ll. 46-54. By virtue of this separation, a content supplier can deploy content only

once, targeting a wide range of devices, and trust it will successfully be delivered to those devices

over a wide range of provisioning protocols. See ’790 Patent, col. 12, ll. 54-58. Furthermore,

access to different implementations of the content can be managed by the content supplier based

on a device’s capabilities ensuring the efficient distribution of compatible material. See ’790

Patent, col. 2, ll. 7-17; col. 7, ll. 39-45; col. 8, ln. 66 – col. 9, ln. 12; col. 9, ll. 37-62.




        55.      The “Netflix ’878 Accused Products” refers to all Netflix products, services, and

functionalities that implement, in whole or in part, H.264 entropy encoding using CAVLC. This

includes, for example, Netflix’s use of the H.264 baseline, main, and high profiles with CAVLC

to encode its video content.

        56.      H.264 is the name for technology described in an industry standard that is widely

used to encode and decode streaming video. H.264 reduces the file size of video files without any

loss in quality of video, enabling companies to stream video in higher quality given the same

network bandwidth.


                                                      17
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       57.     H.264 focuses on the coding of the picture portions of the video content. To this

end, H.264 defines a format, or syntax, for compressed video and a method for decoding this syntax

to produce a displayable video sequence.       An H.264 video encoder carries out prediction,

transform, and encoding processes to produce a compressed H.264 bitstream. An H.264 video

decoder carries out the complementary processes of decoding, inverse transform, and

reconstruction to produce a decoded video sequence.

       58.     H.264 has been the dominant industry standard for compressing video for

applications such as digital television, DVD video, video conferencing, and Internet video

streaming.   Standardizing video compression made it possible for products from different

manufacturers to inter-operate. Recommendation H.264: Advanced Video Coding is a video

decoding standard published by the international standards bodies ITU-T (International

Telecommunication Union) and ISO/IEC (International Organisation for Standardisation /

International Electrotechnical Commission) (attached as Ex. 23). It defines a format (syntax) for

compressed video and a method for decoding this syntax to produce a displayable video sequence.

Products that support H.264 encoding and decoding are compliant with the H.264 standard.

       59.     According to Netflix, “given its wide support, our H.264/AVC Main profile family

still represents a substantial portion of the members viewing hours and an even larger portion of

the traffic.”13 As recently as August 10, 2020, Netflix announced that it was continuing to invest

in its use of H.264, stating that “[k]eeping in mind our goal to maintain ubiquitous device support,

we leveraged what we learned from innovations implemented during the development of newer

encode families and have made a number of improvements to our H.264/AVC Main profile per-



       13
         See Ex. 24, https://netflixtechblog.com/improving-our-video-encodes-for-legacy-
devices-2b6b56eec5c9, at 1-2.



                                                18
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title encodes.”14 For its mobile devices, Netflix uses the high profile of H.264, which “enjoys

broad decoder support.”15 Netflix’s use of H.264, and the resulting decrease in the bitrate of its

content streams, “corresponds to a significant reduction in the overall Netflix traffic as well. These

changes also lead to an improvement in Quality-of-Experience (QoE) metrics that affect the end

user experience, such as play delays (i.e. how long it takes for the video to start playing), rebuffer

rates, etc., as a result of the reduction in average bitrates. In addition, footprint savings will allow

more content to be stored in edge caches, thus contributing to an improved experience for our

members.”16

       60.     On information and belief, Netflix performs H.264 encoding using CAVLC to

efficiently and seamlessly deliver video to its customers.



       61.     “Netflix ’559 Accused Products” refers to all Netflix products, services, features,

and functionalities that control the flow of content to a client based on status information from a

client and/or a content server. This includes, for example, all versions and implementations of the

Netflix streaming service (including the service and the application).

       62.     Netflix controls the flow of streaming content to Netflix clients based, in part, on

status information from the client and/or a content server.




       14
           See Ex. 24, https://netflixtechblog.com/improving-our-video-encodes-for-legacy-
devices-2b6b56eec5c9, at 2; see also Ex. 25,
https://www.broadbandtvnews.com/2020/08/11/netflix-works-to-improve-h-264-experience/, at
1-2.
        15
           See Ex. 26, https://netflixtechblog.com/more-efficient-mobile-encodes-for-netflix-
downloads-625d7b082909, at 1-2; Ex. 27, https://www.vdocipher.com/blog/tech-update-netflix-
updates-codecs-use-efficient-encoding/, at 1-2.
        16
           See Ex. 24, https://netflixtechblog.com/improving-our-video-encodes-for-legacy-
devices-2b6b56eec5c9.



                                                  19
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       63.     On information and belief, Netflix uses status information from the client and/or a

content server to “bookmark” content so that, when a viewer stops viewing content and then returns

to view the same content later, the content begins at the time segment where the viewer left off.

Without this feature, returning to view content would be significantly more inconvenient and

probably cause viewers to view less content.17

       64.     On information and belief, Netflix uses status information from the client and/or a

content server to automatically download content based on the subscriber’s viewing history.

Netflix’s automatic download feature operates so that, when a viewer “finish[es] watching a

downloaded episode, Smart Downloads will delete it, and then automatically download the next

episode.”18 The automatic download feature allows Netflix to “smartly download new episodes

of TV shows so that users don't have to worry about doing the same manually.”19

       65.     On information and belief, Netflix further uses status information from the client

and/or a content server to prompt video features that significantly improve the consumer viewing

experience. For example, Netflix provides viewers a “Skip Intro” option shortly after the opening




       17
           See, e.g., Ex. 28, https://about.netflix.com/en/news/now-you-can-easily-tidy-up-your-
continue-watching-row-on-all-devices, at 1; See Ex. 29, https://help.netflix.com/en/node/115312;
https://www.addictivetips.com/web/get-continue-watching-on-top-in-netflix/, at 1-3; Ex. 30,
https://discussions.apple.com/thread/4365964, at 1-4 (various user complaints about a “bug”
where Netflix videos were not updating to the most recent episode).
        18
           See Ex. 31, Downloading on Netflix Just Got Smarter, NETFLIX,
https://about.netflix.com/en/news/downloading-on-netflix-just-got-smarter-1, at 1-2 (last visited
Feb. 17, 2022); Ex. 32, Amazon Prime Video to Get Netflix-like Smart Downloads Feature,
        MOBILESCOUT, at 1-2 (Nov. 19, 2019),
https://www.mobilescout.com/android/news/n114549/amazonprime-video-auto-downloads-
feature-spotted.html (last visited Feb 17, 2022).
        19
           See Ex. 31, Downloading on Netflix Just Got Smarter, NETFLIX,
https://about.netflix.com/en/news/downloading-on-netflix-just-got-smarter-1, at 1-2(last visited
Feb. 17, 2022).



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credits sequence begins.20 Similarly, when the beginning of an episode includes a summary of

previous episodes in a TV series, Netflix provides viewers a “Skip Recap” option.21 Additionally,

immediately after the final scene of an episode, Netflix’s “autoplay” feature allows the viewer to

automatically play the next episode in a TV series.22 Without these features, viewing content

would be more burdensome and the viewing experience would suffer.23



       66.     “Netflix ’790 Accused Products” refers to all Netflix products, services, features,

and functionalities that maintain a product catalog of, and provide access to, content with a

plurality of different implementations corresponding to device capabilities. This includes, for

example, all versions and implementations of the Netflix streaming service (including the service

and the application).

       67.     Netflix maintains a catalog of, and provides access to, streaming content, which has

a plurality of different implementations corresponding to device capabilities.

       68.     On information and belief, Netflix receives and stores content, such as movies and



       20
            See Ex. 64, How to Skip Intros on TV Shows, NETFLIX,
https://help.netflix.com/en/node/63402, at 1 (last visited Feb. 17, 2022).
         21
            See Ex. 33, Netflix Just Sneakily Added Another Button That Will Make You Binge So
Much Better, HELLOGIGGLES (Apr. 04, 2017) https://hellogiggles.com/reviews-coverage/tv-
shows/netflix-just-rolled-new-feature-will-seriously-help-show-facts-straight-binge/;
https://help.netflix.com/en/node/2102, at 1-6.
         22
            See Ex. 35, How to Autoplay the Next Episode, NETFLIX,
https://help.netflix.com/en/node/121518, at 1.
         23
            See, e.g., Ex. 36, Amazon Prime Video Advert Skip, DIGITALSPY (July 12, 2021),
https://forums.digitalspy.com/discussion/2420457/amazon-prime-video-advert-skip (last visited
Jan. 20, 2022) at 6 (“The skip credits and Recap option is very useful as one click is a lot easier
than having to forward to the place you want. It is obviously a popular feature as Netflix,
Amazon and Disney Plus all have the feature . . . .”); Ex. 37, Netflix’s “Skip Intro” Feature,
MEDIUM, https://medium.com/an-attempt-at-writing/netflixs-skip-intro-feature-how-the-hell-do-
they-do-that-7c5db9408f82 at 1-2 (“[Y]ou can skip intros of most shows. . . . [I]t’s a huge time
saver and makes situations like binge watching especially very fluid.”).



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TV shows, that will be provided to users.24 By doing so, delivery of content to users is faster and

less expensive.25

       69.     On information and belief, Netflix maintains a plurality of different

implementations of this content, where each implementation corresponds to device capabilities of

the Netflix client.26 Maintaining different implementations of content allows the Netflix clients to

smoothly and seamlessly stream content without “blips.”27

       70.     On information and belief, Netflix maintains a product catalog which contains

references to the content.28 By maintaining a product catalog that includes references to various



       24
             See, e.g., Ex. 38, How Netflix Works with ISPs Around the Globe to Deliver a Great
Viewing Experience, NETFLIX (Mar. 17, 2016), https://about.netflix.com/en/news/how-netflix-
works-with-isps-around-the-globe-to-deliver-a-great-viewing-experience, at 2-5 (last visited Feb.
21, 2022) (“Netflix Open Connect delivers 100% of our video traffic . . . almost all Netflix
content is served from the local OCAs . . ..”); see also Ex. 39, A Look Under the Hood of the
Most Successful Streaming Service on the Planet, THE VERGE (Nov. 17, 2021) ,
https://www.theverge.com/22787426/netflix-cdn-open-connect (last visited Feb. 21, 2022), at 3
(“To avoid the traffic and fees, Netflix ships copies of its content to its own servers ahead of
time.”).
          25
             See, e.g., Ex. 39, A Look Under the Hood of the Most Successful Streaming Service on
the Planet, THE VERGE (Nov. 17, 2021) at 3 (“To avoid the traffic and fees, Netflix ships copies
of its content to its own servers ahead of time.”).
          26
             See, e.g., Ex. 39, A Look Under the Hood of the Most Successful Streaming Service on
the Planet, THE VERGE (Nov. 17, 2021), at 6 (“Netflix effectively ships three copies of each of
its titles to its servers, each with a different level of quality.”); see also Ex. 40, Cloud Storage:
How Does Netflix Store Their Content?, GLOBAL TECH COUNCIL (Jan. 1, 2021) ,
https://www.globaltechcouncil.org/big-data/cloud-storage-how-does-netflix-store-their-content/
(last visited Feb. 21, 2022), at 2-4 (“To be available for viewing on a range of devices: from 44’
4K Smart TV to 6-inch handset displays, they need to be encoded and compressed into different
formats and qualities. . . . Many versions of the compressed encoded file are copied worldwide to
hundreds of servers, forming a larger CDN for Netflix-like people around the world.”)
          27
             See, e.g., Ex. 39, A Look Under the Hood of the Most Successful Streaming Service on
the Planet, THE VERGE (Nov. 17, 2021) (“‘We will adapt the content to the quality of the
network and not vice versa . . . [t]hat’s the reason why you don’t see when your network has a
blip – your streaming stays constant.’”).
          28
             See, e.g., Ex. 38, How Netflix Works with ISPs Around the Globe to Deliver a Great
Viewing Experience, NETFLIX (Mar. 17, 2016) (“Although the number and size of the files that
make up our content library can be staggering, we are able to use sophisticated popularity models



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content, Netflix is able to minimize and eliminate the risks of service disruption,29 and personalize

its presentations for a particular user.30




        71.     VideoLabs incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.

        72.     VL is the assignee and lawful owner of all right, title, and interest in and to the ’878

Patent. The ’878 Patent is valid and enforceable.

        73.     On information and belief, Netflix has infringed and continues to infringe the ’878

Patent in violation of 35 U.S.C. § 271(a), either literally or through the doctrine of equivalents, by

making, using, selling, offering for sale, and/or importing into the United States products and/or

methods that practice at least claim 1 of the ’878 Patent, including with respect to the Netflix ’878


to make sure the right file is on the right server at the right time.”); see also Ex. 39, A Look
Under the Hood of the Most Successful Streaming Service on the Planet, THE VERGE (Nov. 17,
2021) (“[W]e are placing content on all of these servers around the world . . ..”); Ex. 40, Cloud
Storage: How Does Netflix Store Their Content?, GLOBAL TECH COUNCIL (Jan. 1, 2021) (“It is
essential to sift through and organize the petabyte value of content that Netflix has, like a
library.”); Ex. 41, Why Your Netflix Thumbnails Don’t Look Like Mine, VOX (Nov. 21, 2018),
https://www.vox.com/2018/11/21/18106394/why-your-netflix-thumbnail-coverart-changes (last
visited Feb. 21, 2022) (“Netflix has a catalog of thousands of videos to watch . . . Netflix doesn’t
just use a film or show’s original art; it employs an algorithm with the daunting task of sourcing
high-quality images from those videos.”).
        29
           See, e.g., Ex. 39, A Look Under the Hood of the Most Successful Streaming Service on
the Planet, THE VERGE (Nov. 17, 2021) (“‘This pre-placement of our films and shows allows us,
based on prime time viewing hours, to store 100 percent of our catalog locally. And that
basically eliminates the whole risk associated with service disruption.”).
        30
           See, e.g., Ex. 42, Selecting the Best Artwork for Videos Through A/B Testing, THE
NETFLIX TECH BLOG (May 3, 2016), https://netflixtechblog.com/selecting-the-best-artwork-for-
videos-through-a-b-testing-f6155c4595f6 (last visited Feb. 21, 2022) (“Selecting the best
artwork has improved the Netflix product experience in material ways. We were able to help our
members find and enjoy titles faster.”); .”); see also e.g., Ex. 63, “Learning a Personalized
Homepage”, NETFLIX, https://netflixtechblog.com/learning-a-personalized-homepage-
aa8ec670359a (last retrieved, Feb. 21, 2022)..


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Accused Products.

       74.     On information and belief, Netflix uses the Netflix ’878 Accused Products for its

own business purposes.        In addition, Netflix regularly conducts research, testing, and

troubleshooting of the Netflix ’878 Accused Products. Further, VideoLabs is informed and

believes companies related to Netflix (e.g., Netflix’s subsidiaries) use the Netflix ’878 Accused

Products.

       75.     On information and belief, Netflix’s infringement through its use of H.264 CAVLC

entropy encoding, described below, is exemplary of all of Netflix’s infringement with respect to

all the Netflix ’878 Accused Products.

       76.     The Netflix ’878 Accused Products directly infringe at least claim 1 of the ’878

Patent, for example, by performing variable length encoding of blocks of picture data using the

block data, inter-, intra-, and context-aware prediction to generate a predictive block, calculating

a residual block using orthogonal transformation and quantization, and using the number of non-

zero coefficients in the predicted block to encode the picture data at the encoder.

       77.     Each of the Netflix ’878 Accused Products meet every limitation of claim 1 of the

’878 Patent, which recites:

               1. A transmitting apparatus which transmits multiplexed data which is obtained
               by multiplexing coded audio data and coded picture data, said transmitting
               apparatus comprising:
               an audio processing unit configured to code audio data to
               obtain coded audio data;
               a picture coding unit configured to code picture data to
               obtain coded picture data; and
               a multiplexing unit configured to multiplex the coded audio
               data and the coded picture data to obtain multiplexed
               data,
               wherein said picture coding unit includes a block decoding unit
               configured to code a block image to obtain coded block data, the
               block image being obtained by dividing a picture signal into plural


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               blocks, generating a residual block image from a block image of the
               respective blocks and a predictive block image obtained by intra-
               picture prediction or inter-picture prediction, and coding, on a block
               basis, coefficients obtained by performing orthogonal
               transformation and quantization on the residual block image,
               wherein said block coding unit includes:
               a coefficient number coding unit configured to code a total number
               of non-zero coefficients included in a current block to be coded,
               each of the non-zero coefficients being a coefficient having a value
               other than “0”;
               wherein said coefficient number coding unit includes:
               a determining unit configured to determine a predictive value for the
               number of non-zero coefficients included in the current block based
               on the number of non-zero coefficients included in a coded block
               located on a periphery of the current block;
               a selecting unit configured to select a variable length code table
               based on the determined predictive value; and
               a variable length coding unit configured to perform variable length
               coding on the total number of the non-zero coefficients included in
               the current block, by using the selected variable length code table.
       78.     Each of the Netflix ’878 Accused Products includes a transmitting apparatus that

transmits multiplexed data, which is obtained by multiplexing coded audio data and coded picture

data. In one representative example, H.264 carries audio and video multiplexed in a single stream.

H.264 is directed to the picture portion of video, so devices containing H.264 encoders and

decoders must multiplex/demultiplex audio and picture data in order to provide the H.264 picture

data. For example, encoders can multiplex the audio and pictures into a single stream, so that

decoders receive the complete video presentation, including sound. Alternatively, the coded audio

and coded video can be time-multiplexed and delivered as independent content streams.

Regardless, decoders receive the complete video presentation, including sound, and decode the

stream to recreate the video. In the ISO Media File Format, which each Netflix ’878 Accused

Products, and the Netflix streaming service, is capable of processing, for example, a coded stream

such as an H.264 video sequence or an audio stream is stored as a track, representing a sequence



                                                25
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of coded data items or samples. Figure 8.32, below, illustrates an example of such multiplexed

data, in which coded audio data (“audio track samples”) and coded picture data (“video track

samples”) are multiplexed together.




Ex. 17, Richardson, at 247.

       79.     The Netflix ’878 Accused Products have an audio processing unit configured to

code audio data to obtain coded audio data. For example, the Netflix ’878 Accused Products

incorporate an audio codec that is configured to code audio data according to one of several input

formats, including without limitation, Dolby Digital, Dolby Digital Plus, Dolby Atmos, and

AAC.31 The audio data is encoded as coded audio data (“audio track samples”).

       80.     The Netflix ’878 Accused Products further include a picture coding unit configured

to code picture data to obtain coded picture data. For example, the Netflix ’878 Accused Products

incorporate a H.264 video codec that is configured to code picture data to generate a H.264-

compliant bitstream.32 The picture data is encoded as coded picture data (“video track samples”).

For example, Netflix employs a parallel video encoding process to generate multiple quality



       31
           See Ex. 43, https://netflixtechblog.com/optimizing-the-aural-experience-on-android-
devices-with-xhe-aac-c27714292a33; Ex. 44, https://about.netflix.com/en/news/dolby-atmos-
coming-to-netflix;
        32
           See Ex. 24, https://netflixtechblog.com/improving-our-video-encodes-for-legacy-
devices-2b6b56eec5c9; Ex. 26, https://netflixtechblog.com/more-efficient-mobile-encodes-for-
netflix-downloads-625d7b082909.



                                               26
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representations of a content program at different bitrates.33




A typical Netflix content program is encoded using multiple H.264 encoding profiles for encoding

at the different bitrates:34




        81.     The Netflix ’878 Accused Products include a multiplexing unit configured to

multiplex the coded audio data and the coded picture data into multiplexed data. Encoders

multiplex the audio track samples and video track samples so that decoders receive the complete

video presentation, including sound. One non-limiting example of multiplexed data generated by

the Netflix ’878 Accused Products is shown in Figure 8.32 below, which shows the multiplexed

stream of an ISO Media File including both coded audio track data and coded video track data.




        33
          See Ex. 6, https://netflixtechblog.com/high-quality-video-encoding-at-scale-
d159db052746.
       34
          See e.g., filtered JSON manifest for the representative Netflix movie “IP Man”
containing four H.264 High profile encodes.


                                                 27
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Id. at 247. As noted, the coded audio data and the coded picture data can alternatively be time-

multiplexed.

       82.     The picture coding unit in the Netflix ’878 Accused Products includes a block

coding unit configured to code a block image to obtain coded block data, the block image being

obtained by dividing a picture signal into plural blocks.

       83.     In the Netflix ’878 Accused Products picture data is coded by an H.264-compliant

encoder by dividing a picture signal into macroblocks, as shown in Figure 6-7:




See ITU-T H.264, Series H: Audiovisual and Multimedia Systems, Infrastructure of audiovisual

services – Coding of moving video, Advanced video coding for generic audiovisual services,

Section 6.3, p. 25 (03/2009), at Figure 6-7.

       84.     The macroblock consists of a 16 x 16 block of luma samples and two corresponding

blocks of chroma samples. A macroblock can be further partitioned for inter-prediction forming

segmentations for motion representation as small as a block of 4 x 4 luma samples.35

       85.     In the Netflix ’878 Accused Products a residual block image is generated from the

block image of the respective blocks and a predictive block image is obtained by intra-picture



       35
          See generally Ex. 23, ITU-T H.264, Series H: Audio Visual and Multimedia Systems,
Infrastructure of Audiovisual Services – Coding of Moving Video, Advanced Video Coding for
Generic Audio Visual Services [hereinafter “H.264 Standard”], Section 0.6.3, p. 5 (09/2019).


                                                28
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prediction or inter-picture prediction by an H.264-complaint encoder. For example, Figure 6.6

below shows a picture signal to be coded, with the macroblock being coded highlighted. The

macroblock is predicted using neighboring, previously-encoded samples, as shown in Figure 6.7;

because this prediction looks only to the other macroblocks of the same picture, this is called intra-

picture prediction. The predicted macroblock is shown in Figure 6.7. Figure 6.8 shows the

prediction (Figure 6.7) subtracted from the original (Figure 6.6), which is called the residual.




Richardson at 141-143.

       86.       The Netflix ’878 Accused Products can use intra- and inter- picture coding on the

macroblocks of a picture signal. Inter-picture coding predicts the value of the macroblock using

temporal statistical dependencies between different pictures. Both types of prediction can be used

by the H.264-compliant encoder to calculate the residual.

       87.       In the Netflix ’878 Accused Products the H.264-compliant encoder codes, on a

block basis, coefficients obtained by performing orthogonal transformation and quantization on

the residual block image. H.264 specifies an entropy_coding_mode flag that dictates the entropy

encoding algorithm used to encode the picture data. When this flag is set to “0” the residual block

data is coded using a CAVLC scheme.36 In the case of Netflix’s AVC-Main and AVC-High profile



       36
            See Ex. 23, H.264 Standard, Section 7.4.2.2, pp. 81-82 (09/2019).



                                                 29
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H.264 encodes, the entropy_coding_mode flag is set to “0”:37




       37
       Picture Parameter Set analysis of two different Netflix content programs encoded using
AVC High profile (first two images) and AVC Main profile (second two images).


                                              30
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       88.     In such case, the resulting prediction residual is split into 4x4 blocks, and

transformation and quantization are applied. An integer transform is applied to the residual,

outputting a set of coefficient weighting values. This process is shown in the figures below:




                                               31
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Ex. 17, Richardson, at 47.




Ex. 17, Richardson, at 88.

       89.     The coefficients are then quantized, meaning that insignificant coefficient values

are rounded down (for example, to zero), while a small number of significant, non-zero coefficients

are retained. The quantization step is shown in Figure 4.12:




                                                32
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Ex. 17, Richardson, at 88.

       90.     The encoding process is shown in Figure 4.4:




Ex. 17, Richardson, at 84.

       91.     In the Netflix ’878 Accused Products, the block coding unit includes a coefficient

number coding unit configured to code a total number of non-zero coefficients included in a current

block to be coded, where each of the non-zero coefficients have a value other than “0”. In H.264

CAVLC encoding generally, which the Netflix ’878 Accused Products support and perform, the

total number of non-zero coefficients included in a current block to be coded is derived in order to

generate a H.264-compliant bitstream.

       92.     To this end, the coefficient number coding unit in the Netflix ’878 Accused


                                                33
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Products includes a determining unit configured to determine a predictive value for the number of

non-zero coefficients included in the current block based on the number of non-zero coefficients

included in a block located on a periphery of the current block. Since CAVLC is a context-adaptive

variable length coding technique, the number of non-zero coefficients in neighboring blocks is

correlated as part of the entropy coding process. An H.264-compliant encoder uses previously-

processed macroblocks to help encode the currently-processed macroblock. The number of non-

zero coefficients in previously-processed blocks on the periphery—including the blocks to the left

and above the current macroblock—are used to predict the number of non-zero coefficients in the

current block. This use of the blocks of the periphery is shown in Figure 6-14:




Ex. 23, H.264 Standard, at 33.

       93.       The H.264-compliant encoder in the Netflix ’878 Accused Products obtains the

number of non-zero coefficients in the left and above blocks to set the variable nC, the prediction

of the current macroblock’s number of non-zero coefficients based on the neighboring

macroblocks’ number of non-zero coefficients.38

       94.       The coefficient number coding unit in the Netflix ’878 Accused Products also

includes a selecting unit configured to select a variable length code table based on the determined

predictive value. The H.264-compliant encoder in the Netflix ’878 Accused Products uses the


       38
            See Ex. 23, H.264 Standard, Section 9.2.1, pp. 214-216 (09/2019).


                                                34
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predictive value nC to select one of six variable length coding tables specified in Table 9-5 of the

H.264 standard in order to generate a H.264-compliant bitstream.39

       95.       This selection of a variable length code table based on a determined predictive value

is exemplified in Figure 7.19:




Richardson at 211.

       96.       The coefficient number coding unit in the Netflix ’878 Accused Products further

includes a variable length coding unit configured to perform variable length coding on the number

of the non-zero coefficients included in the current block, by using the selected variable length

code table. Figure 7.19, supra, shows a CAVLC coding unit. The unit uses the selected variable

length code table to perform variable length coding on the syntax element coeff_token representing

the number of non-zero coefficients of the current macroblock to generate a H.264-compliant

bitstream.40




       39
            See Ex. 23, H.264 Standard, Section 9.2.1 and Table 9-5, pp. 214-218 (09/2019).
       40
            See generally H.264 Standard, Section 9.2.1 and Table 9-5, pp. 214-218 (09/2019).



                                                  35
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       97.     VideoLabs first reached out to Netflix on October 22, 2019, to provide information

about the many benefits and value of VideoLabs’ platform.41 Netflix never responded. VideoLabs

again contacted Netflix on at least February 20, 2020, and again received no response.42 Finally,

in response to an email on March 1, 2021, Netflix responded and agreed to have an introductory

call on March 19, 2021.43 Following the initial call, VideoLabs provided a draft non-disclosure

agreement so that the parties could continue their discussions with certain mutual protections.44

After some back-and-forth, it became clear that Netflix would not agree to an NDA unless it

contained a “standstill” for an indefinite period of time.45 Given that nearly two years had already

passed since VideoLabs first reached out to Netflix, this was an untenable position. After Netflix

refused to agree to a more reasonable standstill length, it stopped responding to VideoLabs’

communications. On February 22, 2022, VideoLabs sent an email to Netflix apprising it of the

’878 Patent, identifying the Netflix products that infringe the ’878 Patent, and requesting that the

parties discuss the terms for Netflix to take a license to the ’878 Patent.46

       98.     Netflix of course knows how its products operate, and on information and belief,

upon receiving notice of the ’878 Patent, has begun investigating the ’878 Patent and its

infringement of the Netflix ’878 Accused Products. Netflix has been given further notice of the

’878 Patent and its infringement of the ’878 Patent through the filing of this Complaint. On

information and belief, Netflix is either knowingly infringing the ’878 Patent or is willfully blind

to its infringement –– including by ignoring VideoLabs’ communications and/or using a



       41
          See Ex. 47, VideoLabs email to Netflix dated October 22, 2019.
       42
          See Ex. 48, VideoLabs email to Netflix dated February 20, 2020.
       43
          See Ex. 50, VideoLabs-Netflix email chain dated March 1, 2021 through February 22,
2022, at 10-12.
       44
          See id. at 8-10.
       45
          See id. at 2-7.
       46
          See id. at 1-2.


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disagreement over a standstill in an NDA as a pretext to avoid having discussions with VideoLabs

and learning more about VideoLabs’ patents –– and continues to act in wanton disregard of

VideoLabs’ patent rights.

       99.     Despite becoming aware of or willfully blinding itself to its infringement of the

’878 Patent, Netflix has nonetheless continued to engage in and has escalated its infringing

activities by continuing to develop, advertise, make available, and use the infringing functionalities

of the Netflix ’878 Accused Products. On information and belief, Netflix has made no attempts to

design around the ’878 Patent or otherwise stop its infringing behavior.

       100.    Netflix’s infringement of the ’878 Patent therefore has been and remains willful.

       101.    Netflix also indirectly infringes the ’878 Patent by inducing others to infringe and

contributing to the infringement of others, including third-party users of the Netflix ’878 Accused

Products in this District and throughout the United States. As described above, on information

and belief, Netflix has known about the ’878 Patent since at least February 22, 2022.

       102.    On information and belief, Netflix has actively induced the infringement of the ’878

Patent under 35 U.S.C. § 271(b) by actively inducing the infringement of the Netflix ’878 Accused

Products by third parties in the United States. Netflix knew or was willfully blind to the fact that

its conduct would induce these third parties to act in a manner that infringes the ’878 Patent in

violation of 35 U.S.C. § 271(a).

       103.    Netflix actively encouraged and continues to actively encourage third parties to

directly infringe the ’878 Patent by, for example, requiring that third parties provide content to

Netflix that has been encoded using H.264, working with third parties to ensure that this

requirement is met, and otherwise actively encouraging, supporting, and assisting such infringing




                                                 37
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acts.47

          104.   On information and belief, Netflix contributorily infringes the ’878 Patent under 35

U.S.C. § 217(c) by importing, selling, and/or offering to sell within the United States the Netflix

’878 Accused Products (or components thereof) that constitute a material part of the claimed

invention and are not staple articles of commerce suitable for substantial non-infringing use. For

example, the hardware and/or software for encoding content with H.264 using CAVLC is material,

has no insubstantial non-infringing uses, and is known by Netflix to be especially made or adapted

for use in a manner that infringes the ’878 Patent.




          105.   VideoLabs incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.

          106.   VL IP is the assignee and lawful owner of all right, title, and interest in and to the

’559 Patent. The ’559 Patent is valid and enforceable.

          107.   On information and belief, Netflix has infringed and continues to infringe the ’559

Patent in violation of 35 U.S.C. § 271, either literally or through the doctrine of equivalents, by

making, using, selling, offering for sale, and/or importing into the United States products and/or

methods that practice at least claims 1 and 13 of the ’559 Patent, including with respect to the

Netflix ’559 Accused Products.

          108.   On information and belief, Netflix uses the Netflix ’559 Accused Products for its

own business purposes.         In addition, Netflix regularly conducts research, testing, and


          47
           See, e.g., Ex. 51, https://partnerhelp.netflixstudios.com/hc/en-
us/articles/360057627253-VFX-Media-Review-Delivery-Specifications; Ex. 52,
https://drive.google.com/file/d/1_bwbUs4NaF7Y-07_NHwQqsL5L6zPVMPN/view; Ex. 53,
https://fta-media.konsole-
labs.com/pdf_files/Netflix_Full_Technical_Spec_%26_Operators_Manual_v8.1.pdf.


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troubleshooting of the Netflix ’559 Accused Products. Further, VideoLabs is informed and

believes companies related to Netflix (e.g., Netflix’s subsidiaries) use the Netflix ’559 Accused

Products.

       109.    On information and belief, Netflix’s infringement through certain instrumentalities

of the Netflix streaming service, described below, are exemplary of all of Netflix’s infringement

with respect to all the Netflix ’559 Accused Products.

       110.    The Netflix ’559 Accused Products directly infringe at least claim 1 of the ’559

Patent, for example, by providing one or more servers configured to receive, from a remote

terminal accessing the Netflix streaming and content delivery services, content status information,

including content bookmark information, and configured to receive server status information

regarding available content from a source of content, and in response to the content status

information, instructing the terminal to perform actions, such as download control instructions,

based on the terminal status information and the server status information, to control the flow of

content to the terminal.

       111.    The Netflix ’559 Accused Products meet every limitation of at least claim 1 of the

‘559 Patent, which recites:

               1.      An apparatus comprising:
               a processor configured to receive, from a terminal located remote
               from the apparatus, a content status including terminal status
               information, and configured to receive server status information
               regarding a source of content, wherein the server status information
               comprises a listing of at least one piece of content available from the
               source, wherein the processor is configured to send, to the terminal,
               a response to the content status that instructs the terminal to perform
               one or more actions to thereby control the flow of content to the
               terminal based upon the terminal status information and the server
               status information, and
               wherein the at least one piece of content available from the source,
               and the content for which the processor is configured to control the
               flow, comprise multimedia content.


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       112.    The architecture of the Netflix streaming and content delivery services generally

constitutes (among other things) a back-end control plane, which controls and manages the myriad

of microservices employed by Netflix to manage and deliver streaming content to Netflix

subscribers, a terminal application, accessible directly from a subscriber’s browser, or via the

Netflix app installed on one or more of a subscriber’s connected devices, and a content distribution

network in which implementations of Netflix’s content library are stored, distributed and managed,

and subsequently delivered, to Netflix subscribers on demand.

       113.    The Netflix back-end control plane incorporates a processor configured to receive,

from a terminal located remote from the apparatus, a content status including terminal status

information. During a streaming session with a remote terminal accessing the Netflix streaming

and content delivery services using, for example, a browser by accessing www.netflix.com, or via

the Netflix application installed on the subscriber’s connected device, the remote terminal

routinely provides content status messages to Netflix servers in the back-end control plane. One

such content status message provided in this regard is a content status message (“cl2”) provided

by the remote terminal to the Netflix domain www.netflix.com, via an API message (highlighted

in blue below). This content status message is provided to the Netflix servers in the back-end

control plane via a HTTPS POST method and includes, in its message payload, terminal status

information about the content the Netflix subscriber is watching or has recently finished watching

(red highlighting below).




                                                40
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       114.    The content status message received by the Netflix servers in the back-end control

plane from the remote terminal specifies, among other information, the view progress within the

content the Netflix subscriber has recently watched, but not yet finished watching (in the above

example, the content program is represented by videoID 80103688, which correlates to the Netflix

show Blacklist: Season 3, Episode 15 – Drexel). For example, the terminal status information

relating to the view progress in the above example is reported by the Netflix client player and

includes the parameter mediaOffset, which represents the offset position within the video program

the Netflix client player is/was streaming. This information is passed through to the Netflix back-

end control plane and Netflix maintains this terminal status information in its back-end control



                                                41
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plane and uses this information at least to manage the content bookmarking feature in its streaming

and content delivery services. For example, Netflix updates the bookmarking information in near

real-time based on this received information to reflect the bookmark change, if any, in the client

GUI, as shown below:




       115.    The Netflix back-end control plane also incorporates a processor configured to

receive server status information regarding a source of content, wherein the server status

information comprises a listing of at least one piece of content available from the source. For

example, the Netflix back-end control plane manages status information received from the origin

servers hosting Netflix content within its content delivery network. This status information




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includes health metrics available from the source (e.g., Open Connect Appliances (or “OCAs”))

(see e.g., purple references below) and a listing of content streams of different encoded formats

available from the source (see e.g., yellow reference below).48




       116.    The Netflix back-end control plane processor is further configured to send, to the

terminal, a response to the content status that instructs the terminal to perform one or more actions

to thereby control the flow of content to the terminal based upon the terminal status information

and the server status information. For example, when the Netflix subscriber requests to stream the

content program from the Netflix streaming and content delivery services, the Netflix back-end

control plane sends to the subscriber’s terminal a response to the content status. The response is

sent, for example, as payload information in a JSON container to the subscriber’s terminal:




       48
          See e.g., Ex. 49, “Open Connect Overview”, NETFLIX,
https://openconnect.netflix.com/Open-Connect-Overview.pdf.

                                                 43
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       117.    The response includes information to instruct the terminal to perform one or more

actions to thereby control the flow of content to the terminal based upon the terminal status

information and the server status information. For example, the response includes a federated

listing of the different origin servers from where the client can obtain the program stream (red

highlighting below), as well as the segment index references and base URLs for respective audio

and video tracks (green highlighting below) for the content program to enable the Netflix client to

obtain the individual segments of the content program stream from the ideal source(s) depending

on bandwidth constraints, etc.




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                                    45
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       118.    The response also includes the bookmark position within the content program at

which the Netflix client player should initiate content streaming (blue highlighting below):




       119.    The Netflix application and/or the Netflix browser, under the programming control

by Netflix, carries out the instructions by issuing a series of consecutive HTTP GET requests

starting at the designated media offset point to the designated content source at specific time

intervals thereby controlling the flow of multimedia content to the terminal.




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       120.    At least one piece of content available from the source, and the content for which

the processor is configured to control the flow, comprise multimedia content. As noted, all the

content available for streaming from the Netflix streaming and content delivery services is

multimedia content.

       121.    On information and belief, the “Skip Intro,” “Skip Recap,” and “Autoplay”/“Next

Episode” features operate substantially the same as described above, and thus infringe for

substantially the same reasons.

       122.    The Netflix ’559 Accused Products also directly infringe at least claim 13 of the

’559 Patent, for example, by receiving, at a network entity, from a remote terminal accessing the

Netflix streaming and content delivery services, content status information, including content

download information, and in response to the content status information, sending instructions to

the terminal to perform actions, such as delete and download control instructions, based on the

terminal status information, to control the flow of multimedia content to the terminal.

       123.    The Netflix ’559 Accused Products meet every limitation of at least claim 13 of the

‘559 Patent, which recites:




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               13.   A method for controlling a flow of content, the method
               comprising:
               receiving, at a network entity from a terminal located remote
               therefrom, a content status including terminal status information
               comprising a listing of at least one piece of content stored in a
               memory of the terminal; and sending, from the network entity to the
               terminal, a response to the content status that instructs the terminal
               to perform one or more actions to thereby control the flow of content
               to the terminal based upon the terminal status information , and
               wherein the at least one piece of content stored in the memory of the
               terminal, and the content for which the flow is controlled, comprise
               multimedia content.


       124.    The architecture of the Netflix streaming and content delivery services generally

constitutes (among other things) a back-end control plane, which controls and manages the myriad

of microservices employed by Netflix to manage and deliver streaming content to Netflix

subscribers, a terminal application, accessible directly from a subscriber’s browser, or via the

Netflix app installed on one or more of a subscriber’s connected devices, and a content distribution

network in which implementations of Netflix’s content library are stored, distributed and managed,

and subsequently delivered, to Netflix subscribers on demand.

       125.    One important feature that Netflix offers its subscribers is content downloads. For

example, Netflix subscribers can download Netflix programming content, such as episodes of

Seinfeld, to their connected mobile device(s) and watch the programming off-line. Netflix

remotely manages the remote client by controlling the deletion and addition of Netflix content

programming on the client device.




                                                48
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       126.      Netflix refers to this important feature as “smart downloads”.49 With smart

downloads, when a subscriber is finished watching a downloaded episode, Smart Downloads will

delete it, and then automatically download the next episode.

       127.      To accomplish this, Netflix servers receive, from a remote terminal, a content status

including terminal status information.       During a streaming session with a remote terminal

accessing the Netflix streaming and content delivery services using, for example, the Netflix

application installed on the subscriber’s connected device, the remote terminal routinely provides

content status messages to Netflix servers in the back-end control plane. One such content status

message provided in this regard is a content status message (“/iosui/user/13.38”) provided by the

remote terminal to the Netflix domain ios.prod.ftl.netflix.com, via an API message [red

highlighting below]. This content status message is provided to the Netflix servers in the back-

end control plane via a HTTPS POST method and includes, in its message payload, terminal status

information about downloaded content the Netflix subscriber is watching or has recently finished



       49
            See Ex. 31, https://about.netflix.com/en/news/downloading-on-netflix-just-got-smarter-
1.


                                                  49
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watching (for example, the first episode of season 1 of Seinfeld, which correlates to the program

reference “80132845”) [green highlighting below].




       128.    The content status message received by the Netflix servers in the back-end control

plane from the remote terminal specifies, among other information, the view progress within the

content the Netflix subscriber has recently watched locally on their connected device. For

example, the terminal status information relating to the view progress in the above example is

specified by an API schema defined by Netflix and includes the parameter bookmark. Netflix

maintains this terminal status information in its back-end control plane and uses this information

at least to manage the smart download feature in its streaming and content delivery services.


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       129.      The Netflix back-end control plane sends, to the terminal, a response to the content

status that instructs the terminal to perform one or more actions to thereby control the flow of

content to the terminal based upon the terminal status information. For example, when the content

status indicates that the Netflix subscriber has completed watching the locally stored content

program, the Netflix back-end control plane sends to the subscriber’s terminal a response to the

content status [purple highlighting below].       The response is sent, for example, as payload

information in a JSON container to the subscriber’s terminal that includes information to instruct

the terminal to perform one or more actions to thereby control the flow of content to the terminal

based upon the terminal status information.




       130.       The Netflix application, under the programming control by Netflix, carries out the

instructions by flagging the episode (“80132845”) for deletion from the local memory of the client

and initiate downloading of the next episode (“80132847”) in the series to the client. The Netflix

client automatically executes the instructions accordingly to update the Smart Downloads on the

client device.




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       131.    At least one piece of content stored in the memory of the terminal, and the content

for which the flow is controlled, comprise multimedia content. As noted, all the content available

for streaming from the Netflix streaming and content delivery services is multimedia content.

       132.    VideoLabs first reached out to Netflix on October 22, 2019, to provide information

about the many benefits and value of VideoLabs’ platform.50 Netflix never responded. VideoLabs

again contacted Netflix on at least February 20, 2020, and again received no response.51 Finally,

in response to an email on March 1, 2021, Netflix responded and agreed to have an introductory

call on March 19, 2021.52 Following the initial call, VideoLabs provided a draft non-disclosure

agreement so that the parties could continue their discussions with certain mutual protections.53

After some back-and-forth, it became clear that Netflix would not agree to an NDA unless it

contained a “standstill” for an indefinite period of time.54 Given that nearly two years had already



       50
          See Ex. 47, VideoLabs email to Netflix dated October 22, 2019.
       51
          See Ex. 48, VideoLabs email to Netflix dated February 20, 2020.
       52
          See Ex. 50, VideoLabs-Netflix email chain dated March 1, 2021 through February 22,
2022, at 10-12.
       53
          See id. at 8-10.
       54
          See id. at 2-7.


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passed since VideoLabs first reached out to Netflix, this was an untenable position. After Netflix

refused to agree to a more reasonable standstill length, it stopped responding to VideoLabs’

communications. On February 22, 2022, VideoLabs sent an email to Netflix apprising it of the

’559 Patent, identifying the Netflix products that infringe the ’559 Patent, and requesting that the

parties discuss the terms for Netflix to take a license to the ’559 Patent.55

       133.      Netflix of course knows how its products operate, and on information and belief,

upon receiving notice of the ’559 Patent, has begun investigating the ’559 Patent and its

infringement of the Netflix ’559 Accused Products. Netflix has been given further notice of the

’559 Patent and its infringement of the ’559 Patent through the filing of this Complaint. On

information and belief, Netflix is either knowingly infringing the ’559 Patent or is willfully blind

to its infringement –– including by ignoring VideoLabs’ communications and/or using a

disagreement over a standstill in an NDA as a pretext to avoid having discussions with VideoLabs

and learning more about VideoLabs’ patents –– and continues to act in wanton disregard of

VideoLabs’ patent rights.

       134.      Despite becoming aware of or willfully blinding itself to its infringement of the

’559 Patent, Netflix has nonetheless continued to engage in and has escalated its infringing

activities by continuing to develop, advertise, make available, and use the infringing functionalities

of the Netflix ’559 Accused Products. On information and belief, Netflix has made no attempts to

design around the ’559 Patent or otherwise stop its infringing behavior.

       135.      Netflix’s infringement of the ’559 Patent therefore has been and remains willful.

       136.      Netflix also indirectly infringes the ’559 Patent by inducing others to infringe and

contributing to the infringement of others, including third-party users of the Netflix ’559 Accused



       55
            See id. at 1-2.


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Products in this District and throughout the United States. As described above, on information

and belief, Netflix has known about the ’559 Patent since at least February 22, 2022.

       137.    On information and belief, Netflix has actively induced the infringement of the ’559

Patent under 35 U.S.C. § 271(b) by actively inducing the infringement of the Netflix ’559 Accused

Products by third parties in the United States. Netflix knew or was willfully blind to the fact that

its conduct would induce these third parties to act in a manner that infringes the ’559 Patent in

violation of 35 U.S.C. § 271(a).

       138.    Netflix actively encouraged and continues to actively encourage third parties to

directly infringe the ’559 Patent by, for example, marketing the Netflix ’559 Accused Products

and infringing functionalities to consumers; working with consumers to implement, install and/or

operate the Netflix ’559 Accused Products and infringing functionalities; fully supporting and

managing consumers’ continuing use of the Netflix ’559 Accused Products and infringing

functionalities; and providing technical assistance to consumers during their continued use of the

‘559 Accused Products and infringing functionalities.56

       139.    For example, Netflix induces third parties to infringe the ’559 Patent by

encouraging them to install and operate the Netflix streaming service, which alone and/or in

combination with the third parties’ devices constitutes infringement of the ’559 Patent. Netflix

advertises and promotes its Netflix streaming service on its website and in various app stores such



       56
           See e.g., Ex. 54, Netflix Help Center, https://help.netflix.com/en/ (last accessed Feb. 15,
2022); See Ex. 35, How to Autoplay the Next Episode, NETFLIX,
https://help.netflix.com/en/node/121518; Ex. 31, Downloading on Netflix Just Got Smarter,
NETFLIX, https://about.netflix.com/en/news/downloading-on-netflix-just-got-smarter-1 (last
visited Feb. 17, 2022); See Ex. 32, How to Skip Intros on TV Shows, NETFLIX,
https://help.netflix.com/en/node/63402 (last visited Feb. 17, 2022); Ex. 55, How to Use
“Download Next Episode”, NETFLIX, https://help.netflix.com/en/node/101262 (last visited Feb.
21, 2022).



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as Apple’s app store and Android’s app store in connection with the Netflix mobile application

that can be installed on consumers’ respective connected iOS and Android devices (as well as

others), and encourages consumers to configure and operate their mobile and computer devices in

an infringing manner.57 In response, consumers acquire, configure, and operate the Netflix

streaming service in an infringing manner.

         140.      On information and belief, Netflix contributorily infringes the ’559 Patent under 35

U.S.C. § 217(c) by importing, selling, and/or offering to sell within the United States the Netflix

’559 Accused Products (or components thereof) that constitute a material part of the claimed

invention and are not staple articles of commerce suitable for substantial non-infringing use. For

example, the Netflix streaming application, and the code for sending, receiving, and/or processing

status information, are material, has no insubstantial non-infringing uses, and are known by Netflix

to be especially made or adapted for use in a manner that infringes the ’559 Patent.




         141.      VideoLabs incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.

         142.      VL is the assignee and lawful owner of all right, title, and interest in and to the ’790

Patent. The ’790 Patent is valid and enforceable.

         143.      On information and belief, Netflix has infringed and continues to infringe the ’790

Patent in violation of 35 U.S.C. § 271(a), either literally or through the doctrine of equivalents, by

using methods and/or taking steps that practice at least claim 2 of the ’790 Patent, including with

respect to the Netflix ’790 Accused Products.



         57
              See e.g., Ex. 54, Netflix Help Center, https://help.netflix.com/en/ (last accessed Feb. 15,
2022).


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       144.    On information and belief, Netflix uses the ’790 Accused Products for its own

business purposes. In addition, Netflix regularly conducts testing and troubleshooting of the

Netflix ’790 Accused Products. Further, VideoLabs is informed and believes companies related

to Netflix (e.g., Netflix’s subsidiaries) use the ’790 Accused Products.

       145.    On information and belief, Netflix’s infringement through certain instrumentalities

of the Netflix streaming service, described below, are exemplary of all of Netflix’s infringement

with respect to all the Netflix ’790 Accused Products.

       146.    The Netflix ’790 Accused Products directly infringe at least claim 2 of the ’790

Patent, for example, by providing subscribers access to content on their respective connected

devices through the receipt and storage of different implementations of Netflix content

programming, each corresponding to a different set of device capabilities, in its content

management system, and the selection of a portion of the Netflix content programming catalog

which includes references to each content program implementation based on capabilities of the

subscriber’s device.

       147.    The Netflix ’790 Accused Products meet every limitation of at least claim 2 of the

’790 Patent, which recites:

               2.     A method of providing access to digital content for use on
               wireless communication devices, the method comprising:
               receiving and storing in a server system a plurality of items of digital
               content to be made available for use in wireless communication
               devices used by a plurality of wireless services subscribers,
               including receiving and storing a plurality of different
               implementations of at least one of the items of digital content, where
               each implementation of any given item of digital content
               corresponds to a different set of device capabilities;
               operating the server system to maintain a product catalog containing
               a description of the items of digital content, wherein the product
               catalog includes, in association with each item of digital content, a
               reference to each implementation of said item of digital content;



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               receiving a request from a wireless device used by one of the
               subscribers;

               in response to the request, selecting a portion of the product catalog
               to be presented to the subscriber, based on device capabilities of the
               wireless device used by the subscriber; and

               presenting the selected portion of the product catalog to the
               subscriber via a wireless network, such that the selected portion, as
               presented to the subscriber, provides only a single description of
               each item of digital content in said portion, regardless of the number
               of implementations of each said item.
       148.    The Netflix streaming service, when accessed by a Netflix subscriber, provides

access to content for use on subscribers’ wireless communication devices. Netflix subscribers

access the Netflix streaming service, for example, via the Netflix app on their connected device or

by accessing the website from their browser at www.netflix.com:




       149.    Netflix receives and stores a plurality of items of content to be made available for

use in wireless communication devices used by a plurality of wireless services subscribers.

Specifically, Netflix controls the ingestion and management of a comprehensive catalog of


                                                57
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programming content that is made available to mobile device users via the Netflix app or by

accessing the Netflix OTT streaming service at www.netlix.com.             Original format content

programming is received by Netflix in its content processing pipeline.58




       150.    For every Interoperability Master Format Package (IMP) delivered to Netflix for a

specific title, Netflix performs transfer/delivery validations on the contents of the IMP before

updating the content catalog in its asset management system as the content is ingested into the

Netflix content management system.59 Netflix receives IMF package contents via its Backlot

portal.60 Netflix also receives production related materials from Netflix production content

creators via its Content Hub asset storage, management, collaboration, and delivery platform.61

       151.    As part of its content ingestion workflow Netflix transcodes the raw mezzanine

content into multiple different implementation formats, each corresponding to a different set of

device capabilities. This video encoding pipeline runs on AWS EC2 spot instances to seamlessly

scale up additional encoders when more titles need to be processed into the system. Specifically,

Netflix employs a parallel encoding process to ingest high quality video sources and generate video




       58
            See Ex. 56, “The Netflix IMF Workflow”, NETFLIX, https://netflixtechblog.com/the-
netflix-imf-workflow-f45dd72ed700, (last retrieved, Feb. 21, 2022).
         59
            Id.
         60
            See e.g., Ex. 57, https://partnerhelp.netflixstudios.com/hc/en-
us/articles/115004926427-Backlot-Overview-for-Content-Partners (last retrieved, Feb. 21,
2022).
         61
            See e.g., Ex. 58, https://partnerhelp.netflixstudios.com/hc/en-
us/articles/360000509487-Content-Hub-Overview-Introduction (last retrieved, Feb. 21, 2022).



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encodes of various codec profiles, at multiple quality representations per profile.62 Exemplary

codec profiles supported by Netflix transcodes include VP9, AV1, H.264/AVC Main, H.264/AVC

Mobile-Hi, and HEVC.63




        152.    Netflix operates its content management services to maintain a product catalog

containing a description of the items of digital content. Netflix maintains an enormous, ever-

changing content library. Recently, its US content library alone exceeded 6,000 titles.64 Netflix

leverages its Gatekeeper service to evaluate the “liveness” of the titles in its catalog – a title is not

available to a subscriber until Gatekeeper approves it.65




        62
            See e.g., Ex. 6, “High Quality Video Encoding at Scale”, NETFLIX,
https://netflixtechblog.com/high-quality-video-encoding-at-scale-d159db052746 (last retrieved,
Feb. 21, 2022)
         63
            Id.; see also Ex. 59, “Netflix Now Streaming AV1 on Android”, NETFLIX,
https://netflixtechblog.com/netflix-now-streaming-av1-on-android-d5264a515202 (last retrieved,
Feb. 21, 2022); See Ex. 26, “More Efficient Mobile Encodes for Netflix Downloads”, NETFLIX,
https://netflixtechblog.com/more-efficient-mobile-encodes-for-netflix-downloads-625d7b082909
(last retrieved Feb. 21, 2022).
         64
            See e.g., Ex. 60, https://www.whats-on-netflix.com/news/netflix-library-by-the-
numbers-2021/ (last retrieved, Feb. 21, 2022).
         65
            See Ex. 61, “Re-Architecting the Video Gatekeeper”, NETFLIX,
https://netflixtechblog.com/re-architecting-the-video-gatekeeper-f7b0ac2f6b00 (last retrieved,
Feb. 21, 2022).


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        153.    In association with each title in the content catalog, Netflix maintains a reference

association to each individual program encode so that only certain encodes are chosen for a

particular user device. For example, Netflix employs a video metadata service that includes links

to content program images, trailers, encoded video files, subtitles, individual episodes and seasons

(if applicable), title, genre, synopsis, cast, maturity ratings, etc.66

        154.    Netflix receives a request from a wireless device used by one of the subscribers,

such as when the Netflix subscriber launches the Netflix app on their connected mobile device to

access the Netflix service. When Netflix subscribers access the streaming service from their

respective connected device, an HTTP GET request is sent from the subscriber’s device to Netflix:




        66
       See e.g., Ex. 62, https://netflixtechblog.com/object-cache-for-scaling-video-metadata-
management-c3c17830983e.


                                                    60
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       155.    Associated with the request are various capabilities of the subscriber’s device,

including, for example, the maximum number of rows that can be displayed on the device

(“clientAppMaxRows”); the maximum number of content items that can be shown in each row

(“clientAppMaxTitlesPerRow”); the type of device the subscriber is using (“idiom”); the version

of operating system the device is using (“iosVersion”); and a flag indicating whether the device is

a tablet or mobile device (“isTablet”). Representative images from an iPad (left) and an iPhone

(right) accessing the Netflix service are shown below:




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       156.    In response to the request, Netflix selects a portion of its product catalog to present

to the subscriber, based upon the device capabilities. Specifically, Netflix returns a JSON payload

to the requesting client device that includes category and content item listings for a subset of its

product catalog that match the reported device capabilities (i.e., 40 rows of content categories and

a maximum of 75 content items selected for each category row for an iPad tablet):




       157.    Netflix presents the selected portion of the product catalog to the subscriber during




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a streaming session as a function of its content personalization microservice.67      In particular,

according to Netflix, each device has different hardware capabilities that can limit the number of

videos or rows displayed at any one time and how big the whole page can be. As such, the page

generation process must be aware of the constraints of the device for which it is creating the page,

including the number of rows, the minimum and maximum length of a row, the size of the visible

portion of the page, and whether or not certain rows are required or are not applicable to a certain

device.68

       158.    The portion of the product catalog as presented provides only a single description

of each item of digital content, regardless of the number of implementations of each item. For

example, although each digital program in the selected portion of the product catalog has multiple

associated different bitrate and format encodes, as discussed previously, in presenting the selected

portion of the product catalog to the Netflix subscriber, Netflix provides only a single description

of each content program to the subscriber.




       67
           See Ex. 63, “Learning a Personalized Homepage”, NETFLIX,
https://netflixtechblog.com/learning-a-personalized-homepage-aa8ec670359a (last retrieved,
Feb. 21, 2022).
        68
           Id.


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In contrast, the manifest listing for the program Raising Dion, for example, indicates at least eight

different video encoding implementations (first image below) and three different audio encoding

implementations (second image below) for the content program:




       159.    On information and belief, to the extent applicable, VideoLabs has complied with

35 U.S.C. § 287(a) with respect to the ’790 Patent.



                                                 64
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       160.    VideoLabs first reached out to Netflix on October 22, 2019, to provide information

about the many benefits and value of VideoLabs’ platform.69 Netflix never responded. VideoLabs

again contacted Netflix on at least February 20, 2020, and again received no response.70 Finally,

in response to an email on March 1, 2021, Netflix responded and agreed to have an introductory

call on March 19, 2021.71 Following the initial call, VideoLabs provided a draft non-disclosure

agreement so that the parties could continue their discussions with certain mutual protections.72

After some back-and-forth, it became clear that Netflix would not agree to an NDA unless it

contained a “standstill” for an indefinite period of time.73 Given that nearly two years had already

passed since VideoLabs first reached out to Netflix, this was an untenable position. After Netflix

refused to agree to a more reasonable standstill length, it stopped responding to VideoLabs’

communications. On February 22, 2022, VideoLabs sent an email to Netflix apprising it of the

’790 Patent, identifying the Netflix products that infringe the ’790 Patent, and requesting that the

parties discuss the terms for Netflix to take a license to the ’790 Patent.74

       161.    Netflix of course knows how its products operate, and on information and belief,

upon receiving notice of the ’790 Patent, has begun investigating the ’790 Patent and its

infringement of the Netflix ’790 Accused Products. Netflix has been given further notice of the

’790 Patent and its infringement of the ’790 Patent through the filing of this Complaint. On

information and belief, Netflix is either knowingly infringing the ’790 Patent or is willfully blind

to its infringement –– including by ignoring VideoLabs’ communications and/or using a



       69
          See Ex. 47, VideoLabs email to Netflix dated October 22, 2019.
       70
          See Ex. 48, VideoLabs email to Netflix dated February 20, 2020.
       71
          See Ex. 50, VideoLabs-Netflix email chain dated March 1, 2021 through February 22,
2022, at 10-12.
       72
          See id. at 8-10.
       73
          See id. at 2-7.
       74
          See id. at 1-2.


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disagreement over a standstill in an NDA as a pretext to avoid having discussions with VideoLabs

and learning more about VideoLabs’ patents –– and continues to act in wanton disregard of

VideoLabs’ patent rights.

       162.    Despite becoming aware of or willfully blinding itself to its infringement of the

’790 Patent, Netflix has nonetheless continued to engage in and has escalated its infringing

activities by continuing to develop, advertise, make available, and use the infringing functionalities

of the Netflix ’790 Accused Products. On information and belief, Netflix has made no attempts to

design around the ’790 Patent or otherwise stop its infringing behavior.

       163.    Netflix’s infringement of the ’790 Patent therefore has been and remains willful.

       164.    Netflix also indirectly infringes the ’790 Patent by inducing others to infringe and

contributing to the infringement of others, including third-party users of the Netflix ’790 Accused

Products in this District and throughout the United States. As described above, on information

and belief, Netflix has known about the ’790 Patent since at least February 22, 2022.

       165.    On information and belief, Netflix has actively induced the infringement of the ’790

Patent under 35 U.S.C. § 271(b) by actively inducing the infringement of the Netflix ’790 Accused

Products by third parties in the United States. Netflix knew or was willfully blind to the fact that

its conduct would induce these third parties to act in a manner that infringes the ’790 Patent in

violation of 35 U.S.C. § 271(a).

       166.    Netflix actively encouraged and continues to actively encourage third parties to

directly infringe the ’790 Patent by, for example, marketing the Netflix ’790 Accused Products

and infringing functionalities to consumers; working with consumers to implement, install and/or

operate the Netflix ’790 Accused Products and infringing functionalities; fully supporting and

managing consumers’ continuing use of the Netflix ’790 Accused Products and infringing




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functionalities; and providing technical assistance to consumers during their continued use of the

‘790 Accused Products and infringing functionalities.75

         167.      For example, Netflix induces third parties to infringe the ’790 Patent by

encouraging them to install and then operate the Netflix streaming service, which constitutes

infringement of the ’790 Patent. Netflix advertises and promotes its Netflix streaming service on

its website and in various app stores such as Apple’s app store and Android’s app store in

connection with the Netflix mobile application that can be installed on consumers’ respective

connected iOS and Android devices (as well as others), and encourages consumers to configure

and then operate their mobile and computer devices in an infringing manner.76 In response,

consumers acquire, configure, and then operate the Netflix streaming service in an infringing

manner.

         168.      Netflix further induces third parties to infringe the ’790 Patent by encouraging and

instructing Netflix content partners to provide their original content programming to be ingested

into the Netflix service through the Netflix Backlot portal and/or the Netflix Content Hub.77 In

response, Netflix content partners follow Netflix guidelines and instructions to submit their raw

mezzanine content to Netflix for ingestion into the Netflix service.

         169.      On information and belief, Netflix contributorily infringes the ’790 Patent under 35

U.S.C. § 217(c) by importing, selling, and/or offering to sell within the United States the Netflix



         75
              See e.g., Ex. 54, Netflix Help Center, https://help.netflix.com/en/ (last accessed Feb. 15,
2022).
         76
              See e.g., Ex. 54, Netflix Help Center, https://help.netflix.com/en/ (last accessed Feb. 15,
2022).
         77
           See e.g., Ex. 57, https://partnerhelp.netflixstudios.com/hc/en-
us/articles/115004926427-Backlot-Overview-for-Content-Partners (last retrieved, Feb. 21,
2022).
        77
           See e.g., Ex. 58, https://partnerhelp.netflixstudios.com/hc/en-
us/articles/360000509487-Content-Hub-Overview-Introduction (last retrieved, Feb. 21, 2022).


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’790 Accused Products (or components thereof) that constitute a material part of the claimed

invention and are not staple articles of commerce suitable for substantial non-infringing use. For

example, the content management and delivery techniques used by Netflix to provide subscribers

access to Netflix content on their respective connected devices is material, has no insubstantial

non-infringing uses, and is known by Netflix to be especially made or adapted for use that practices

at least claim 2 of the ’790 Patent with respect to the ’790 Accused Products.



       WHEREFORE, VideoLabs prays for judgment as follows:

       a)      That Netflix directly and/or indirectly infringes the ’878, ’559, and ’790 Patents;

       b)      That such infringement is willful;

       c)      That Netflix and its respective officers, directors, agents, partners, servants,

employees, attorneys, licensees, successors, and assigns, and those in active concert or

participation with any of them, be permanently enjoined from engaging in infringing activities

with respect to the ’878, ’559, and ’790 Patents;

       d)      In the alternative, in the event injunctive relief is not granted as requested by

VideoLabs, an award of a mandatory future royalty payable on each future product sold by Netflix

that is found to infringe one or more claims of the ’878, ’559, and ’790 Patents, and on all future

products which are not colorably different from products found to infringe;

       e)      That Netflix be required to pay VideoLabs damages in an amount adequate to

compensate VideoLabs for Netflix’s infringement, but in no event less than a reasonable royalty

under 35 U.S.C. § 284, including supplemental damages for any continuing post-verdict

infringement up until entry of judgment and beyond, with accounting, as needed;




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        f)      That VideoLabs be awarded all statutory and actual damages to which it is entitled,

including the profits reaped by Netflix through its illegal conduct, and prejudgment and post-

judgment interest;

        g)      That VideoLabs be awarded enhanced damages, up to and including trebling of the

damages awarded to VideoLabs;

        h)      That VideoLabs be awarded recovery of the costs of this suit, including reasonable

attorneys’ fees; and

        i)      That VideoLabs be awarded such other and further relief as this Court deems just

and proper.



        170.    Pursuant to Rule 38 of the Federal Rules of Civil Procedure and D. Del. LR 38.1,

VideoLabs demands a jury trial on its claims for patent infringement and any and all issues triable

of right before a jury.




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Dated: February 23, 2022                      Respectfully submitted,

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